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1    ROBERT J. ROSATI, No. 112006
     robert@erisalg.com
2    RAQUEL M. BUSANI, No. 323162
     raquel@erisalg.com
3    6485 N. Palm Ave.,
     Fresno, California 93704
4    Telephone: 559-478-4119
     Facsimile: 559-478-5939
5
6    Attorneys for Plaintiff, BARBARA DERVIEUX

7                                  UNITED STATES DISTRICT COURT

8                               NORTHERN DISTRICT OF CALIFORNIA

9                                         SAN FRANCISCO DIVISION

10   BARBARA DERVIEUX,                                 CASE NO.:

11                           Plaintiff,
                                                       COMPLAINT
12   vs.

13   UNITED OF OMAHA LIFE INSURANCE
     COMPANY,
14
                             Defendant.
15
16           Plaintiff, BARBARA DERVIEUX (“Plaintiff” or “Dervieux”) alleges as follows:

17                                            JURISDICTION

18           1.      Plaintiff’s claim for relief arises under the Employee Retirement Income Security

19   Act of 1974, as amended (“ERISA”), 29 U.S.C. section 1132(a)(1) and (a)(3). Pursuant to 29

20   U.S.C. section 1331, this court has jurisdiction over this action because this action arises under the

21   laws of the United States of America. 29 U.S.C. section 1132(e)(1) provides for federal district

22   court jurisdiction of this action.

23                                                 VENUE

24           2.      Venue is proper in the Northern District of California because Plaintiff was and is a

25   resident of the City of Petaluma, in the County of Sonoma, California, when Defendant denied her

26   long-term disability benefits and denied her appeal of that decision. Therefore, 29 U.S.C. section

27   1132(e)(2) provides for venue in this Court. Intradistrict venue is proper in this Court’s San

28   Francisco Division.
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1                                                    PARTIES

2           3.        Plaintiff is, and at all times relevant hereto was, a participant, as that term is

3    defined by 29 U.S.C. section 1000(7), of the Group Long Term Disability Benefits Patriot Growth

4    Insurance Services, LLC ("The Plan") and thereby entitled to receive benefits therefrom. Plaintiff

5    was a beneficiary because she was an employee of Patriot Growth Insurance Services, LLC, which

6    established The Plan. The Plan is an employee welfare benefit plan organized and operating under

7    the provisions of ERISA, 29 U.S.C. section 1001 et seq.

8           4.        Defendant United of Omaha Life Insurance Company, ("United"), issued Group

9    Policy No.: GLTD-BGBF (“The Policy”) to Patriot Growth Insurance Services, LLC, by which

10   long term disability benefits are provided by The Plan.

11          5.        United, the insurer and decision maker for The Plan, denied Dervieux’s benefits at

12   issue in this action, denied her appeal of that denial, and is legally liable for providing the benefits

13   sought herein.

14                                            CLAIM FOR RELIEF

15          6.        The Policy provides long-term disability ("LTD") benefits to employees of Patriot

16   Growth Insurance Services, LLC. Such benefits potentially could continue until the claimant

17   reaches the Normal Social Security Retirement Age, which for Plaintiff herein is the age of 66 and

18   2 months.

19          7.        In order to be eligible for LTD benefits under The Policy, an employee must meet

20   The Policy’s specific provisions. Relevant provisions include:

21                    A.      “Total Disability” is defined as:

22                    “If You are Disabled and satisfy the Occupation Test and/or You
                      are earning less than 20% of Your Indexed Pre-Disability Earnings
23                    under the Earnings Test, the Monthly Benefit while Disabled is the
                      lesser of:
24
                      a) 60% of Your Basic Monthly Earnings, less Other Income
25
                      Sources, except any income benefits for which Your Spouse or
26                    Dependent Child are eligible under the U.S. Social Security Act are
                      not included in Other Income Sources; or.
27
                      b) the Maximum Monthly Benefit, less any Other Income
28                    Sources.”
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1          “Disability and Disabled mean that because of an Injury or
           Sickness, a significant change in Your mental or physical functional
2          capacity has occurred in which You satisfy either the Occupation
           Test or the Earnings Test. You need to satisfy only one test in order
3          to be considered disabled.”
           B.      “Occupation Test” means:
4
           “a) during the first 24.0 months, You are prevented from performing
5          at least one of the Material Duties of Your Regular Occupation; and

6          b) after a Monthly Benefit has been paid for 24-months, You are
           unable to perform at least one of the Material Duties of any Gainful
7          Occupation.”

8          C.     “Earnings Test” means:

9          “You are unable to generate Current Earnings which exceed 80% of
           Your Basic Monthly Earnings in Your Regular Occupation or any
10         Gainful Occupation.

11         After a Monthly Benefit has been paid for 2 years, Disability and
           Disabled mean You are unable to perform all of the Material Duties
12         of any Gainful Occupation. Disability is determined relative to
           Your ability or inability to work. It is not determined by the
13         availability of a suitable position with the Policyholder.”

14         D.     “Material Duties” means:

15         “the essential tasks, functions, and operations relating to an
           occupation that cannot be reasonably omitted or modified. In no
16         event will We consider working an average of more than the
           required Full-Time hours per week in itself to be a part of material
17         duties. One of the material duties of Your Regular Occupation is the
           ability to work for an employer on a full-time basis.”
18
           E.     “Maximum Capacity” means:
19
           “Based on Your medical restrictions and limitations:
20
           a) during the first 24 months of Disability payments, the greatest
21         extent of work You are able to do in Your Regular Occupation;
           and
22
           b) after 24 months of Disability payments, the greatest extent of
23         work You are able to do in any occupation that is reasonably
           available and for which You are reasonably fitted by education,
24         training, or experience.”

25         F.     “Mental Disorder” means:

26         “Mental Disorder means any condition or disease, regardless of its
           cause, listed in the most recent edition of the International
27         Classification of Diseases (ICD) and the Diagnostic and Statistical
           Manual of Mental Disorders (DSM) as a mental disorder. Not
28         included in this definition are conditions or diseases related to
                                          3
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           Alcohol and Drug Abuse and/or Substance Abuse.”
1

2          G.     “Physician” means:

3          “any of the following licensed practitioners:

4          a) a doctor of medicine (MD), osteopathy (DO), podiatry (DPM)
5          or chiropractic (DC);

6          b) a licensed doctoral clinical psychologist;

7          c) a Master's level counselor and licensed or certified social
           worker who is acting under the supervision of a doctor of
8          medicine or a licensed doctoral clinical psychologist;
9
           d) a licensed physician's assistant (PA) or nurse practitioner (NP);
10         or

11         e) where required by law, any other licensed practitioner of a
           healing art who is acting within the scope of his/her license.”
12
           H.     “Regular Occupation” is defined as:
13

14         “the occupation You are routinely performing when Your
           Disability begins. Your regular occupation is not limited to Your
15         specific position held with the Policyholder but will instead be
           considered to be a similar position or activity based on job
16         descriptions included in the most current edition of the U.S.
           Department of Labor Dictionary of Occupational Titles (DOT).
17
           We have the right to substitute or replace the DOT with another
18         service or other information that We determine to be of
           comparable purpose, with or without notice. To determine Your
19         regular occupation, We will look at Your occupation as it is
           normally performed in the national economy, instead of how work
20         tasks are performed for a specific employer, at a specific location,
           or in a specific area or region.”
21

22         I.     “Total Disability” or “Totally Disabled” will be defined as follows:
23
           1.      During the Elimination Period and Own Occupation
24         Period, it means that due to an Injury or Sickness the Insured
           Employee is unable to perform each of the main duties of his or
25         her regular occupation.
26         2.      After the Own Occupation Period, it means that due to an
           Injury or Sickness the Insured Employee is unable to perform each
27         of the main duties of any gainful occupation which his or her
28         training, education or experience will reasonably allow.”
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1           8.      The Policy includes the following limitation:

2                   “Mental Disorder” limitation is described as:

3                   “If You are Disabled and Your Disability is a result of a Mental
                    Disorder, Your benefits will be limited to a total of 24 months while
4                   insured under the Policy, unless You are confined as a resident
                    inpatient in a Hospital due to Your Mental Disorder at the end of
5                   that 24-month period. The Monthly Benefit will continue to be paid
                    during such confinement.
6
                    If You are still Disabled when You are discharged from a Hospital,
7                   the Monthly Benefit will be paid for a recovery period of up to 90
                    additional days. If You become re-confined as a resident inpatient
8                   in a hospital during the recovery period for at least 14 consecutive
                    days, benefits will be paid for the duration of the subsequent
9                   confinements.”

10                        The AbsencePro Management Arrangement

11          9.      Dervieux is informed and believes, based on an “Action Plan,” dated April 30,

12   2021, by United’s Erin Kanne concerning Dervieux’s claim, that United and Patriot Growth

13   Insurance Services, LLC, have a related and complementary contract to The Policy, concerning

14   AbsencePro Management, wherein FMLA benefits are granted upon submission of a doctor’s

15   certification and that disability benefits under The Policy are to be granted without additional

16   medical information.

17          10.     United’s claim file includes an “Action Plan,” dated April 30, 2021, which

18   provides, in part:

19                  “Special Handling Note:
                    Group (i.e., Dervieux’s employer, the LTD policyholder) has
20                  requested that the shared AbsencePro medical certification be used
                    to assess disability. The APS should not be requested. If the
21                  physician provides medical certification, the disability approval
                    dates should align without additional medical information.”
22

23          11.     By letter dated December 29, 2020, Mutual of Omaha, bearing the website

24   address for AbsencePro, “AbsencePro.absencemagmet.com,” and the “Patriot Growth Insurance

25   Services” logo, acknowledged receipt of Ms. Dervieux’s request for leave from her position due

26   to a serious health condition. The letter stated her leave was not yet approved. It told her that in

27   order to be approved, she must “have the attached certification completed and returned to

28   AbsencePro by the due date. . . .” The letter was signed by AbsencePro.
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1           12.       On February 19, 2021, Ms. Mallory Paige Mullikin, NP, completed a FMLA or

2    Leave Absence Medical Certification Employee’s Serious Health Condition form to AbsencePro

3    – fulfilling the requirement of “physician provides medical certification.”

4           13.       AbsencePro continued to approve Dervieux’s leave from prior to March 14, 2021,

5    at least through December 1, 2021.

6           14.       Therefore, United should have approved Dervieux’s LTD benefits upon

7    application and continued to approve those benefits at least through December 1, 2021, based on

8    the AbsencePro arrangement/agreement.

9           15.       Dervieux was employed as an Operations Manager for Patriot Growth.

10          16.       Dervieux became disabled on December 14, 2020.

11          17.       Dervieux timely applied for LTD benefits from United .

12          18.       United determined that: Dervieux’s “Basic Monthly Earnings” were $10,285.10;

13   her “Basic Monthly Benefit is $6,771.06; and that Dervieux’s LTD benefits would begin March

14   14, 2021, after the end of The Policy’s Elimination Period.

15          19.       United obtained a “Medical File Review” by Grey Taulberg, RN, CNC, dated

16   April 6, 2021.

17          20.       United then obtained a medical records review, through Dane Street, LLC, from

18   Joann Mundin, M.D., dated April 26, 2021.

19          21.       By letter dated May 4, 2021, signed by Erin Kanne, United denied Dervieux’s

20   claim for LTD benefits, and invited her to appeal that decision.

21          22.       By letter dated October 18, 2021, Dervieux, through counsel, appealed the denial

22   of her LTD benefits. Dervieux’s appeal asserts:

23                    A.     United was obligated to grant LTD benefits pursuant to the terms of the

24          AbsencePro agreement;

25                    B.     United failed to consider Dervieux’s receipt of California SDI benefits,

26          other than as a reduction of monthly LTD benefits;

27                    C.     United withheld pertinent documents in its claim file from Dervieux and her

28          counsel;
                                                    6
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1                   D.     United failed to properly evaluate Dervieux’s claim and records, which

2           demonstrate that she is incapable of performing at least one of the Material Duties of her

3           Regular Occupation;

4                   E.     United failed to properly evaluate the Material Duties of Dervieux’s

5           Regular Occupation;

6                   F.     Reports from Dane Street are suspect;

7                   G.     The reports of Nurse Taulberg and Dr. Mundin are not credible, reliable or

8           persuasive; and

9                   H.     Dervieux is disabled under the terms of The Policy and entitled to LTD

10          benefits.

11          23.     In response to Dervieux’s appeal, United obtained a file review by Dr. David P.

12   Yuppa, dated November 10, 2021.

13          24.     By letter dated November 16, 2021, United invited Dervieux to review and

14   comment on Dr. Yuppa’s file review.

15          25.     By letter dated November 19, 2021, Dervieux, through counsel, submitted her

16   timely comments to United concerning Dr. Yuppa’s report, explaining that Dr. Yuppa’s opinions,

17   properly construed, demonstrate Dervieux is disabled under the terms of The Policy, that he

18   misunderstood The Policy’s requirements in his analysis, and that United asked the wrong

19   questions of him.

20          26.     United obtained an “Occupational Analysis” of Dervieux’s occupation in the

21   national economy, dated December 7, 2021, by its employee, Jennifer Belew, MSEd, Sr.

22   Vocational Rehabilitation Specialist.

23          27.     United obtained a “Clarification” dated December 13, 2021, from Dr. Yuppa.

24          28.     By letter dated December 15, 2021, United provided Dervieux with the

25   Clarification dated December 13, 2021, by Dr. David P. Yuppa and the “Occupational Analysis”

26   dated December 7, 2021, by Jennifer Belew.

27          29.     By letter dated December 20, 2021, Dervieux, through counsel, timely provided

28   her comments to United’s new medical report and its vocational report. Dervieux explained
                                                   7
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1    therein that:

2                     A.     Ms. Belew’s “Occupational Analysis” is materially wrong; and

3                     B.     Dr. Yuppa’s conclusion that Ms. Dervieux’s comparatively low level of

4            treatment does not demonstrate disability, misconstrues and misapplies The Policy’s

5            requirements which entitle Dervieux to LDT benefits if she is prevented from performing a

6            single material duty of her Regular Occupation, which the facts demonstrate to be the case.

7            30.      By letter dated January 5, 2022, United denied Dervieux’s appeal from the denial

8    of her LTD benefits.

9            31.      United’s denial of Plaintiff’s long-term disability benefits was arbitrary and

10   capricious, an abuse of discretion and in violation of the terms of The Policy.

11           32.      Dervieux has performed all conditions precedent required to be performed on her

12   part.

13           33.      Plaintiff has exhausted all administrative remedies required to be exhausted by the

14   terms of The Policy and by ERISA.

15           34.      At all times mentioned herein Plaintiff was, and continues to be, totally disabled

16   under The Policy’s definition of totally disabled and therefore entitled to benefits under the terms

17   of the Policy.

18           35.      ERISA section 503, 29 U.S.C. section 1133 provides:

19                    “In accordance with regulations of the Secretary, every employee
                      benefit plan shall”
20
                      (1)    provide adequate notice in writing to any participant,
21                    beneficiary whose claim for benefits under the plan has been
                      denied, setting forth the specific reason for such denial, written in a
22                    manner calculated to be understood by the participant, and

23                    (2)    afford a reasonable opportunity to any participant whose
                      claim for benefits has been denied for a full and fair review by the
24                    appropriate named fiduciary of the decision denying the claim.

25           36.      Defendant was required to provide Plaintiff a full and fair review of her claim for

26   benefits pursuant to 29 U.S.C. §1133 and its implementing Regulations. Specifically:

27                    a.      29 U.S.C. §1133 mandates that, in accordance with the Regulations
                      of the Secretary of Labor, every employee benefit plan, including defendant
28                    herein, shall provide adequate notice in writing to any participant or
                                                      8
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           beneficiary whose claim for benefits under the plan has been denied, setting
1          forth the specific reasons for such denial, written in a manner calculated to
           be understood by the participant and afforded a reasonable opportunity to
2          any participant whose claim for benefits has been denied a full and fair
           review by an appropriate named fiduciary of the decision denying the
3          claim.

4          b.      The Secretary of Labor has adopted Regulations to implement the
           requirements of 29 U.S.C. §1133. These Regulations are set forth in 29
5          C.F.R. § 2560.503-1 and provide, as relevant here, that employee benefit
           plans shall establish and maintain reasonable procedures governing the
6          filing of benefit claims, notifications of benefit determinations, and appeal
           of adverse benefit determinations and that such procedures shall be deemed
7          reasonable only if:

8                 i.     Such procedures comply with the specifications of
           the Regulations.
9
                   ii.    The claims procedures contain administrative
10         processes and         safeguards designed to ensure and to verify
           that benefit determinations are made in accordance with governing
11         plan documents and that, where appropriate, the plan provisions
           have been applied consistently with respect to similarly situated
12         claimants.

13                 iii.   Written notice is given regarding an adverse
           determination (i.e., denial or termination of benefits) which
14         includes: the specific reason or reasons for the adverse
           determination; with reference to the specific plan provisions on
15         which the determination is based; a description of any additional
           material or information necessary for the claimant to perfect the
16         claim and an explanation of why such material or information is
           necessary; a description of the plan’s review procedures and the
17         time limits applicable to such procedures, including a statement of
           the claimant’s right to bring a civil action under section 502(a) of
18         ERISA following a denial on review; if an internal rule, guideline,
           protocol, or similar criterion was relied upon in making the adverse
19         determination, either the specific rule, guideline, protocol, or other
           similar criterion or a statement that such a rule, guideline, protocol,
20         or other similar criterion was relied upon in making the adverse
           determination and that a copy of such rule, guideline, protocol, or
21         other criterion will be provided free of charge to the claimant upon
           request.
22
                   iv.   The plan is required to provide a full and fair review
23         of any adverse determination which includes:

24                        a.     That a claimant shall be provided, upon
                  request and free of charge, reasonable access to, and copies
25                of all documents, records, and other information relevant to
                  the claimant’s claim for benefits.
26
                          b.     A document, record, or other information
27                shall be considered “relevant” to a claimant’s claim if such
                  document, record, or other information: (1) was relied upon
28                in making the benefit determination; (2) was submitted,
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                  considered, or generated in the course of making the benefit
1                 determination, without regard to whether such document,
                  record, or other information was relied upon in making the
2                 benefit determination; (3) demonstrates compliance with the
                  administrative processes and safeguards required pursuant
3                 to the Regulations in making the benefit determination; or
                  (4) constitutes a statement of policy or guidance with respect
4                 to the plan concerning the denied benefit without regard to
                  whether such statement was relied upon in making the
5                 benefit determination.

6                         c.     The Regulations further provide that for a
                  review that takes into account all comments, documents,
7                 records and other information submitted by the claimant
                  relating to the claim, without regard to whether such
8                 information was submitted or considered in the initial
                  benefit determination;
9
                          d.     The Regulations further provide that, in
10                deciding an appeal of any adverse determination that is
                  based in whole or in part on a medical judgment that the
11                appropriate named fiduciary shall consult with a healthcare
                  professional who has appropriate training and experience in
12                the field of medicine involved in the medical judgment.

13                        e.      The Regulations further require a review that
                  does not afford deference to the initial adverse benefit
14                determination and that is conducted by an appropriate
                  named fiduciary of the plan who is neither the individual
15                who made the adverse benefit determination that is the
                  subject of the appeal nor the subordinate of such individual.
16
                         f.      The Regulations further provide that a
17                healthcare professional engaged for the purposes of a
                  consultation for an appeal of an adverse determination shall
18                be an individual who is neither the individual who was
                  consulted in connection adverse benefit determination
19                which was the subject of the appeal nor the subordinate of
                  any such individual.
20
                          g.      The Regulations further provide that before a
21                plan can issue an adverse benefit determination on review
                  of a disability benefit claim, the plan administrator shall
22                provide the claimant, free of charge, with any new or
                  additional evidence considered, relied upon, or generated by
23                the plan, insurer, or other person making the benefit
                  determination in connection with the claim as soon as
24                possible and sufficiently in advance of the date on which the
                  notice of adverse benefit determination on review is
25                required to be provided to give the claimant a reasonable
                  opportunity to respond prior to that date.
26

27   37.   United did not provide Dervieux a full and fair review of her claim:

28         A.     United did not provide Dervieux copies of all documents relevant to her
                                          10
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1           claim for benefits.

2                   B.      Dervieux is informed and believes, and thereon alleges, that United does

3           not have and/or does not follow administrative processes and safeguards required

4           pursuant to ERISA Regulations.

5           38.     Review is de novo because The Policy does not delegate discretion to United in

6    The Policy or in any other plan document.

7           39.     The Policy was issued with an effective date January 1, 2019, in the State of

8    Colorado. Colorado law provides “an insurance policy, insurance contract, or plan that is issued

9    in this state that offers health or disability benefits shall not contain a provision purporting to

10   reserve discretion to the insurer, plan administrator, or claim administrator to interpret the terms

11   of the policy, contract, or plan or to determine eligibility for benefits. C. R. S. §10-3-1116(2).

12   Similarly, California Insurance Code section 11010.6 also bans such discretionary clauses.

13   Therefore, any discretionary clause in any plan document is void.

14          40.     If, for any reason, the Court should conclude that review is for abuse of

15   discretion, this Court should review United’s decision with a high level of skepticism because:

16                  A.      United is both the administrator and the funding source for the Policy, and

17                  therefore has a conflict of interest.

18                  B.      United failed to comply with ERISA's procedural requirements regarding

19                  benefit claims procedures and full and fair review of benefit claim denials.

20                  C.      United failed to consider all the evidence and comments presented by

21                  Plaintiff in the course of her appeals.

22                  D.      United’s decision-making was influenced by its financial conflict of

23          interest.

24                  E.      United relied upon unsubstantiated vocational opinions and reports.

25          41.     There is no substantial evidence to support United’s decision to deny Dervieux’s

26   LTD benefits and that decision is contrary to the terms of The Policy.

27          42.     An actual controversy has arisen and now exists between Plaintiff and Defendant

28   with respect to whether Plaintiff is entitled to LTD benefits under The Policy.
                                                     11
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1           43.     Plaintiff contends, and United disputes, that Plaintiff is entitled to past and

2    continuing LTD benefits under the terms of The Policy because Plaintiff contends, and Defendant

3    United disputes, that Plaintiff is and has been totally disabled under the terms of The Policy.

4           44.     Plaintiff desires a judicial determination of her rights and a declaration as to which

5    party's contention is correct, together with a declaration that Defendant United is obligated to pay

6    long-term disability benefits, retroactive to the first day her benefits were denied, until and unless

7    such time that Plaintiff is no longer eligible for such benefits under the terms of The Policy.

8           45.     A judicial determination of these issues is necessary and appropriate at this time

9    under the circumstances described herein in order that the parties may ascertain their respective

10   rights and duties, avoid a multiplicity of actions between the parties and their privities, and

11   promote judicial efficiency.

12          46.     As a proximate result of Defendant United’s wrongful conduct as alleged herein,

13   Plaintiff was required to obtain the services of counsel to obtain the benefits to which she is

14   entitled under the terms of The Policy. Pursuant to 29 U.S.C. section 1132(g)(1), Plaintiff

15   requests an award of attorney's fees and expenses as compensation for costs and legal fees

16   incurred to pursue Plaintiff’s rights.

17          WHEREFORE, Plaintiff prays judgment as follows:

18          1.      For declaratory judgment against United, requiring it to: (a) pay long term

19   disability benefits under the terms of The Policy to Plaintiff from the date said benefits should

20   have been paid (March 14, 2021) to the date of judgment and thereafter until March 13, 2023,

21   until and unless it is thereafter determined that Plaintiff is no longer entitled to benefits under the

22   terms of The Policy.

23          3.      For attorney's fees pursuant to statute against United.

24          4.      For costs of suit incurred.

25          5.      For such other and further relief as the Court deems just and proper.

26   Dated: April 26, 2022                          /s/ Robert J. Rosati
                                                    ROBERT J. ROSATI, No. 112006
27
                                                    Attorney for Plaintiff,
28                                                  BARBARA DERVIEUX
                                                     12
                                                  COMPLAINT
